Case 2:04-cr-20229-SHI\/|-dkv Document 95 Filed 05/13/05 Page 1 of 2 Page|D 133

FH"E{) "§I'i '
IN THE UNITED STATES DISTRICT COURT W !“ H.,j
FOR THE WESTERN DISTRICT OF TENNESSEE QGHHV
WESTERN DIVISION

 

UNITED STATES OF AMERICA,

 

Plaintiff,
VS. CR. NO. 04-20229-Ol-Ma

WAHIB IBRAHIM,

-._r-._.~V-_r~_¢-._r-_,/-_/~_r

Defendant.

 

ORDER ON CHANGE OF PLEA

 

This cause came on to be heard On May 12, 2005, the United
States Attcrney for this district appearing for the Government and
the defendant, Wahib Ibrahim, appearing in person and.with retained
ccunsel, Mr. William Massey and Ms. Lorna McClusky.

With leave cf the Court, the defendant entered a plea of
guilty to Counts 7 and 9 of the Indictment. Plea colloquy was held
and the Court accepted the guilty plea.

Sentencing in this matter is set for Friday, August 26, 2005
at 10:30 a.m.

The defendant may remain on his present bond pending
sentencing.

ENTERED this the n'u\ day of May, 2005.

J¢{//M/L\

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

Th|r..\ document entered on the dockets eat in compl|ance
with sum 55 and/or a2(b} Fsch un § ‘ [Q/ 05"

 

   

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This notice confirms a copy of the document docketed as number 95 in
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Honorable Samuel Mays
US DISTRICT COURT

